                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


Civil Action No.


LEHMAN BROTHERS HOLDINGS INC,

                Plaintiff,

v.

UNIVERSAL AMERICAN MORTGAGE
COMPANY, LLC,

                Defendant.




                                         COMPLAINT


         Plaintiff, Lehman Brothers Holdings Inc. (“LBHI”),1 by and through its undersigned

attorneys, and for causes of action against Defendant Universal American Mortgage Company,

LLC (“Universal”), alleges as follows:




1
 Plaintiff Lehman Brothers Holdings Inc. (“LBHI”) commenced a voluntary case under chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”), on September 15, 2008, in the
United States Bankruptcy Court of the Southern District of New York (the “Bankruptcy Court”).
On December 6, 2011, the Bankruptcy Court entered an order confirming LBHI’s Modified
Third Amended Chapter 11 Plan. LBHI’s chapter 11 plan became effective on March 6, 2012,
and LBHI is authorized to operate its business and manage its property as a debtor in possession
pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

In August 2009, the Bankruptcy Court authorized LBHI to pursue claims with respect to the
origination and purchase of residential mortgage loans. LBHI is pursuing that exact type of
claim here and prosecuting this case to preserve the value of its assets for the benefit of its
creditors.


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                                   I. NATURE OF ACTION

         1.    At all relevant times hereto, Lehman Brothers Bank, FSB (“LBB,” and

collectively with LBHI, “Lehman”) purchased mortgage loans from Universal pursuant to a

series of written contracts. LBB subsequently assigned its rights under those contracts to LBHI.

With respect to certain of these mortgage loans, Universal breached provisions of the contracts

that required it to repurchase from, or indemnify Lehman for mortgage loans which failed to

comply with the parties’ contracts. By this action, LBHI seeks to recover money damages for

injuries that have been sustained as a result of Universal’s failure or refusal to honor its

obligation to repurchase loans and/or indemnify Lehman for its incurred losses.

         2.    The claim presented in this Complaint was originally Count VII of LBHI’s 8-

count complaint in Case No. 11-20859-CIV-KING, filed in the Southern District of Florida.

Pursuant to a ruling by the District Judge at the pretrial conference on January 4, 2013, and a

subsequent Order entered on January 9, 2013, this claim was dismissed without prejudice to be

re-filed as a separate cause of action, because the District Judge was of the opinion that each loan

must be filed separately, rather than joined within one action.

                                          II. PARTIES

         3.    Plaintiff LBHI is a Delaware corporation with its principal place of business in

New York, New York.

         4.    Defendant Universal is a Florida limited liability company with its principal place

of business at 700 N.W. 107th Avenue, Suite 400, Miami, Florida.

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                                  III. JURISDICTION AND VENUE

         5.    This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because there is

complete diversity of citizenship between Plaintiff LBHI and Defendant Universal, and the

amount in controversy exceeds $75,000, exclusive of interest and costs.

         6.    Personal jurisdiction comports with due process under the United States

Constitution and the long-arm statutes of Colorado because Universal has been registered to do

business in Colorado since 2002 and has maintained an agent in the state for the last ten years.

         7.    Universal has purposefully availed itself of the benefit of doing business—both

with and without Lehman—in Colorado. On information and belief, Universal’s business in

Colorado includes, but is not limited to, mortgage lending.

         8.    In 2004, Universal entered into a business relationship with the Lehman entities

pursuant to which Universal would sell residential mortgage loans to Lehman. That relationship

was overseen by Aurora Loan Services, LLC (“Aurora”), a Lehman subsidiary then based in

Littleton, Colorado.

         9.    Universal has had continuous and systematic communication with Lehman

entities in Colorado, including with respect to the loans and related transactions at issue in this

case. This includes: (1) recertification of their ability to originate loans; (2) securing delegated

underwriting authority, which affected Universal’s ability to approve mortgage loans to sell to

Lehman with less oversight from Lehman; and (3) responding to repurchase demands issued by

Lehman or its agent from Colorado.

         10.   Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial

part of the events that give rise to the claims occurred in this District and because the division of




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LBHI that oversees its residential mortgage loss recovery program is based in Greenwood

Village, Colorado, and thus its witnesses and documents are located here.

                               IV. FACTUAL ALLEGATIONS

         11.   At all relevant times, Lehman engaged in the purchase and sale of mortgage

loans.

         12.   Universal engages in mortgage lending, as well as the sale of mortgage loans on

the secondary market to investors such as Lehman.

         13.   Universal entered into a written Loan Purchase Agreement (Servicing Released

Transactions) dated September 20, 2005 with LBB and thereafter amended the Agreement by

Addendum dated October 1, 2006 (together the “Agreement”). A true and correct copy of the

Agreement is attached hereto as Exhibit 1.

         14.   The Agreement specifically incorporates the terms and conditions of the Seller's

Guide of Lehman's agent, Aurora Loan Services LLC, which sets forth additional duties and

obligations of Universal.

         15.   The Seller's Guide in its entirety is valid and binding upon Universal. Attached

hereto as Exhibit 2 are the specific Sections of the Seller’s Guide most directly pertinent to the

claims in this Complaint.

         16.   The Agreement and the Seller’s Guide set forth the duties and obligations of the

parties with respect to the purchase and sale of mortgage loans, including but not limited to

purchase price, delivery and conveyance of the mortgage loans and mortgage loan documents,

examination of mortgage loan files and underwriting, representations and warranties concerning

the parties and individual mortgage loans purchased or sold, and remedies for breach.




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         17.   Universal sold mortgage loans to LBB pursuant to the terms of the Agreement

and Seller's Guide, including Loan ****3159 (Storemski).

         18.   LBB purchased Loan ****3159 from Universal.

         19.   Subsequent to the sale of Loan ****3159 by Universal to LBB, LBB sold Loan

****3159 to LBHI.

         20.   Subsequent or simultaneously with the sale by LBB to LBHI, LBB assigned to

LBHI all of its rights and remedies under the Agreement and Seller's Guide pertaining to Loan

****3159.

                          Misrepresentations/Underwriting Defects

         21.   With respect to each of the loans sold to Lehman under the Agreement and

Seller's Guide, Universal made a number of representations, warranties and covenants

concerning the mortgage loans including, but not limited to the following:

               (a)    the validity of all mortgage loan documentation;

               (b)    the accuracy and integrity of all information and documentation regarding
                      borrower identity, income, employment, credit, assets, and liabilities used
                      in making the decision to originate the mortgage loans;

               (c)    occupancy by the borrowers of the properties securing the mortgage loans;

               (d)    the ownership, nature, condition, and value of the real properties securing
                      the mortgage loans; and

               (e)    the conformance of the mortgage loans with applicable underwriting
                      guidelines and loan program requirements.

         22.   Universal also represented and/or warranted that no errors, omissions,

misrepresentations, negligence, fraud, or similar occurrence took place with respect to the

mortgage loans by any person involved in the origination of the mortgage loans, and that no

predatory or deceptive lending practices were used in the origination of the mortgage loans.


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         23.    Universal represented and/or warranted that it had the ability to perform its

obligations under, and satisfy all requirements of, the Agreement and Seller’s Guide.

         24.    Lehman discovered material problems with Loan ****3159 (Storemski) and that

Universal had breached representations, warranties, and/or covenants under the Agreement and

Seller's Guide, including, without limitation, those set forth above.

         25.    As to Loan ****3159 (Storemski), the borrower and/or loan documents, including

the borrower's loan application, failed to disclose or otherwise include other mortgage debt

obligations, including two mortgage loan obligations for two other properties.

         26.    The loan documents, including the loan application, for Loan ****3159 also

misrepresented that the subject property would be occupied as a “primary residence".

         27.    Borrower Storemski never moved into the subject property purchased with Loan

****3159.

         28.    Borrower Storemski, who was a real estate agent for Keller Williams at the time

of the Loan, re-listed the property that was purchased with Loan ****3159 five days after the

closing of the Loan with Universal.

         29.    The misrepresentations on the loan application as to the omission of other

mortgage loan obligations, and the false representation that the borrower would use the property

as her primary residence, were each material breaches of Universal’s representation, warranty

and covenant in Section 703(1) of the Seller’s Guide that:

         No document, report or material furnished to Purchaser in any Mortgage Loan
         File or related to any Mortgage Loan (including, without limitation, the
         Mortgagor’s application for the Mortgage Loan executed by the Mortgager), was
         falsified or contains any untrue statement of fact or omits to state a fact necessary
         to make the statements contained therein not misleading.




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         30.    The misrepresentations on the loan application as to the omission of other

mortgage loan obligations, and the false representation that the borrower would use the property

as her primary residence, were each material breaches of Universal’s representation, warranty

and covenant in Section 703(12) of the Seller’s Guide that:

         The documents, instruments and agreements submitted for loan underwriting were
         not falsified and contain no untrue statement of material fact or omit to state a
         material fact required to be stated therein or necessary to make the information
         and statements therein not misleading. No fraud was committed in connection
         with the origination of the Mortgage Loan. The Seller has reviewed all of the
         documents constituting the Mortgage Loan File and has made such inquiries as it
         deems necessary to make and confirm the accuracy of the representations set forth
         herein.

         31.    LBHI, through its agent, provided Universal with a letter informing Universal of

Universal’s material breaches of the representations, warranties, and covenants with respect to

Loan ****3159, advising Lehman had been required to make its investor whole for its losses,

and advising Universal of its obligation to indemnify Lehman.

         32.    Subsequent to the initial filing of a legal action against Universal and in the

course of discovery (see ¶ 2 above), LBHI discovered that Loan ****3159 was also in violation

of the Seller’s Guide because the loan obligation resulted in “payment shock” (Loan payment is

more than double borrower's previous housing payment) as described in Section 502 of the

Seller’s Guide and required Universal to utilize a full-documentation loan product for the

borrower.

         33.    LBHI, through its agent, transmitted a letter on August 23, 2012, informing

Universal of the existence of payment shock and the violation of Section 502.

         34.    Also subsequent to the initial filing of a legal action against Universal and in the

course of discovery, LBHI discovered borrower Storemski was a real estate agent, had signed a

broker/agent agreement with Lennar Sales (the developer/selling agent for the property securing


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Loan ****3159), and had acted in her agent capacity when she purchased the property secured

by Loan ****3159.

          35.    Universal is the mortgage lender/funding arm for Lennar Sales.

          36.    Section 501.6-6 of the Seller’s Guide requires the disclosure of certain

relationships that would render a transaction non-arm's length or a common-interest transaction.

Section 501.6-6 further required that “full income and asset documentation” be provided for the

borrower in the event of a common-interest transaction.

          37.    Borrower Storemski’s broker/agent status was required to be disclosed to Lehman

pursuant to Section 501.6-6 of the Seller’s Guide. Universal failed to comply with Section

501.6-6 of the Seller’s Guide.

          38.    LBHI provided notice to Universal of the additional breaches discussed in

paragraphs 33-36 in its summary judgment documents filed in the prior legal action (see ¶ 2

above).

          39.    Universal’s failure to comply with Section 502 of the Seller’s Guide by (i) failing

to require full-documentation due to existence of payment shock, and (ii) failure to comply with

Section 501.6-6 of the Seller’s Guide, were each material breaches of Universal’s representation,

warranty, and covenant in Section 703(8) of the Seller’s Guide that:

          Seller, . . . has duly and faithfully complied with and will continue to comply
          with: (i) all applicable laws, rules, regulations, decrees, pronouncements,
          directives, orders and contractual requirements with respect to the origination,
          closing, underwriting, processing and servicing of each Mortgage Loan; . . .

          40.    Universal’s failure to comply with Section 502 of the Seller’s Guide by (i) failing

to require full-documentation due to existence of payment shock, and (ii) failure to comply with

Section 501.6-6, were also material breaches of Universal’s representation, warranty, and

covenant in Section 703(21) of the Seller’s Guide that:


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         The Mortgage Loan has been originated and processed by Seller or Seller’s
         correspondent in accordance with, and conforms with, the terms of this Seller’s
         Guide and the Loan Purchase Agreement, and the Mortgage Loan has been
         underwritten in accordance with Underwriting Guidelines in effect as of the date
         of the Delivery Commitment applicable to the Mortgage Loan. The Mortgage
         Loan complies with all the requirements of the related Program Profile applicable
         to such Mortgage Loan. . . .

         41.    Additionally, Universal’s failure to comply with Section 502 of the Seller’s Guide

by (i) failing to require full-documentation due to existence of payment shock, and (ii) failure to

comply with Section 501.6-6 of the Seller’s, were material breaches of Section 717 of the

Seller’s Guide that:

         All underwriting performed by Seller hereunder shall be in strict compliance with
         the underwriting guidelines and product descriptions contained in the Seller's
         Guide and such other guidelines and requirements as may be provided to Seller in
         writing from time to time.

         42.    Section 701 of the Seller’s Guide provides that:

         Seller acknowledges that Mortgage Loans are purchased in reliance upon: (i) the
         truth and accuracy of Seller’s representations and warranties set forth in the Loan
         Purchase Agreement and this Seller's Guide, each of which representations and
         warranties relates to a matter material to such purchase; and (ii) Seller’s
         compliance with each of the agreements, requirements, terms, covenants and
         conditions set forth in the Loan Purchase Agreement and this Seller's Guide.

         43.    The breaches discussed above, materially and adversely affected the value of the

loan and the interests of LBHI causing LBHI to lose over ninety-five thousand dollars ($95,000).

         44.    As assigned, the Loan Purchase Agreement and Seller’s Guide provide that in the

event of a breach of the representations, warranties, and/or covenants, LBHI or its agent may

demand that Universal repurchase the loan and Universal shall repurchase the loan at a certain

repurchase price, and/or that Universal shall indemnify LBHI or its agent for LBHI’s losses on

such a loan.




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         45.     Universal has refused or otherwise failed to repurchase Loan ****3159 and has

otherwise failed to comply with its obligations under the Agreement and Seller's Guide,

including its obligation to indemnify LBHI.

         46.     Pursuant to Section 8 of the Agreement, the laws of the State of New York govern

this contract action.

         47.     All conditions precedent to bringing this action have been met, occurred or have

been waived.

                                  V. CLAIMS FOR RELIEF

                                      First Claim for Relief
                                      (Breach of Contract)

         48.     LBHI hereby incorporates by reference the allegations set forth above as though

fully set forth herein.

         49.     The Agreement and the Seller's Guide is a valid and enforceable contract that is

binding upon Universal.

         50.     Lehman, Lehman's agents and any and all assignees of Lehman's rights have

substantially performed all of their obligations under the Agreement and Seller's Guide.

         51.     Universal breached the Agreement and Seller's Guide by breaching the

representations, warranties, and/or covenants including but not limited to those described above

in Section IV.

         52.     Universal further breached the Agreement and Seller's Guide by refusing or

otherwise failing to repurchase Loan ****3159 and/or failing to indemnify Lehman for its losses

as to Loan ****3159.

         53.     Universal’s breaches of the Agreement and Seller's Guide as to Loan ****3159

resulted in actual and consequential damages to LBHI in excess of $95,000.00, plus prejudgment



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interest pursuant to New York law, attorneys fees, litigation costs and all other fees and costs

provided by the Agreement, the exact amount of which to be proven by the evidence.

                                  VI. PRAYER FOR RELIEF

         WHEREFORE, LBHI respectfully requests that this Court enter judgment in its favor and

against defendant Universal as follows:

                (a)    For all damages arising from or relating to Universal’s breaches of

                       contract, in an amount to be proven at trial;

                (b)    For an Order of this Court declaring that Universal is required to

                       compensate Lehman immediately for all actual and consequential damages

                       resulting from Universal’s breaches of the Representations, Warranty, and

                       Covenant provisions of the Agreement and Seller’s Guide;

                (c)    For recoverable interest;

                (d)    For the costs and expenses incurred by LBHI in enforcing Universal’s

                       obligations under the Agreement and Seller’s Guide, including attorneys’

                       fees and costs and any expert witness fees incurred in litigation; and

                (e)    For such other relief as the Court deems just and proper.

Dated: January 16, 2013
                                                   Respectfully submitted,
                                                   By:        /s/ Christopher P. Carrington
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